         Case 1:18-cv-09433-LGS Document 61 Filed 05/20/19 Page 1 of 2



                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


PEN AMERICAN CENTER, INC.

                             Plaintiff,

       vs.                                                 Civil Action No. 18-cv-9433 (LGS)

DONALD J. TRUMP, in his official capacity as                  MOTION FOR ADMISSION
President of the United States                                    PRO HAC VICE

                             Defendant.


       Pursuant to Rule 1.3 of the Local Rules of the United States District Court for the

Southern District of New York, I, Emma P. Simson, respectfully move this Court for an Order

for admission to practice pro hac vice to appear as counsel for proposed amici curiae Reporters

Committee for Freedom of the Press, The Authors Guild Inc., Freedom to Read Foundation,

National Coalition Against Censorship, National Press Photographers Association, Online News

Association, Reporters Without Borders, and Society of Professional Journalists in the above-

captioned action. The parties do not oppose this motion.

       I am in good standing of the bars of Maryland and the District of Columbia, and there are

no pending disciplinary proceedings against me in any state or federal court. I have never been

convicted of a felony. I have never been censured, suspended, disbarred, or denied admission or

readmission by any court. I have attached the affidavit required by Local Rule 1.3.
         Case 1:18-cv-09433-LGS Document 61 Filed 05/20/19 Page 2 of 2



Dated:       May 20, 2019                       Respectfully submitted,

                                                /s/ Emma P. Simson
                                                Emma P. Simson
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Case 1:18-cv-09433-LGS Document 61-1 Filed 05/20/19 Page 1 of 1
Case 1:18-cv-09433-LGS Document 61-2 Filed 05/20/19 Page 1 of 1
Case 1:18-cv-09433-LGS Document 61-3 Filed 05/20/19 Page 1 of 1
        Case 1:18-cv-09433-LGS Document 61-4 Filed 05/20/19 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


PEN AMERICAN CENTER, INC.

                              Plaintiff,

       vs.                                                  Civil Action No. 18-cv-9433 (LGS)

DONALD J. TRUMP, in his official capacity as                    [PROPOSED] ORDER FOR
President of the United States                                       ADMISSION
                                                                    PRO HAC VICE
                              Defendant.


       The motion of Emma P. Simson for admission to appear pro hac vice in the above-

captioned action on behalf of the amici listed in the motion is granted.

       Applicant has declared that she is a member in good standing of the bars of Maryland and

the District of Columbia and that her contact information is as follows:

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               WILMER CUTLER PICKERING
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               Emma.Simson@wilmerhale.com

       IT IS HEREBY ORDERED that Applicant is admitted to practice pro hac vice in the

above-captioned case in the United States District Court for the Southern District of New York.

All attorneys appearing before this Court are subject to the Local Rules of this Court, including

the Rules governing discipline of attorneys.



Dated: ______________________                                ____________________________
                                                             United States District Judge
